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         IN THE UNITED STATES DISTRICT COURT FOR THE
               MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE
UNIVERSITY,

            Plaintiff and Counterclaim
            Defendant,
                                            Case No. 4:21-cv-01091-MWB
v.                                          (Hon. Matthew W. Brann)

VINTAGE BRAND LLC,                          JURY TRIAL DEMANDED
            Defendant and Counterclaim
            Plaintiff

And

SPORTWEAR INC., d/b/a PREP
SPORTSWEAR; CHAD HARTVIGSON;
ERIK HARTVIGSON; and MICHELLE
YOUNG,

            Defendants.


AMICUS CURIAE BRIEF BY THE SOCIETY OF PRODUCT LICENSORS
COMMITTED TO EXCELLENCE IN SUPPORT OF THE PLAINTIFF THE
     PENNSYLVANIA STATE UNIVERSITY’S OPPOSITION TO
  DEFENDANT VINTAGE BRAND, LLC’S MOTION FOR SUMMARY
                       JUDGMENT
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                                INTRODUCTION

      Movant, The Society of Product Licensors Committed to Excellence

(“SPLiCE”) has moved for leave to file this amicus brief in support of The

Pennsylvania State University’s (“Penn State”) Opposition to Vintage Brand, LLC’s

(“Vintage Brand”) Motion for Summary Judgment.

                    INTEREST OF THE AMICUS CURIAE

      Founded in 2004, SPLiCE is a 501(c)(6) not-for-profit trade organization

created as a best practice think-tank for trademark brand licensors (“Brand

Licensors”). The mission of SPLiCE is to provide a platform for Brand Licensors to

share best practices for protecting and enhancing brand integrity. SPLiCE member

companies represent a significant sector of the licensing industry, comprised of over

70 member companies from academia, the business sector, the nonprofit arena and

the government, (including all four branches of the armed forces), across 50

industries (“SPLiCE Member Companies”). Specifically, SPLiCE Member

Companies represent 20% of the Dow Jones Industrial Average, 10% of the 2022

Interbrand Top Brands, 50% of the top 10 and 29% of the collective 84 reported in

the 2023 License Global Top brand, and in excess of 30,000 manufacturers and

licensees impacting global brand protection.

      SPLiCE Member Companies operate their licensing programs in accordance


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federal trademark law as found in the Lanham Act. Pursuant to the Lanham Act (15

U.S. C. § 1051 et seq.), a trademark owner must establish that it has a protectable

ownership interest in its mark, and that a third party’s use of the mark is likely to

cause consumer confusion as to the source of goods.

      The central issue herein that the Court addressed on Penn State’s motion to

dismiss Vintage Brand’s counterclaims (and currently at issue in the pending

summary judgment motion) concerns the scope and protectability of Penn State’s

trademarks and related merchandising. The Court is faced with deciding whether

Vintage Brand is free to utilize Penn State trademarks on T-shirts and other

merchandise, without a license or authorization from Penn State, under the theory

that Vintage Brand’s proposed use of the use of the mark is not indicative of its

source and is merely decoration or ornamental, and therefore, not deserving of

trademark protection.

      If this Court grants summary judgment on this issue in favor of Vintage Brand,

not only will it upend the federal trademark licensing industry for collegiate

institutions, their athletics programs as well as professional sports associations, it

will wreak havoc within the national licensing arena for all trademark brand

licensors who rely on merchandising in support of their licensing programs. Further,

it will set a dangerous precedent for other courts to follow. Finally, if this Court

grants summary judgment in favor of Vintage Brand, and third party manufacturers



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are permitted to indiscriminately utilize brand owner trademarks without any

accountability to or permission of the licensor (and without compensation to brand

owner), the consuming public will bear the consequences flowing from this errant

decision, including (i) being subject to inferior and counterfeit goods that lack any

meaningful regulation on quality, compliance with legal requirements and safety and

(ii) loss of social accountability and environmental sustainability in product

manufacturing.

      Accordingly, for the benefit of Brand Licensors and the licensing industry,

SPLiCE is submitting this Amicus Curiae filing.

                         SUMMARY OF ARGUMENT

      Vintage Brand is singlehandedly attempting to upend the trademark licensing

and merchandising industry. This Court is uniquely positioned to prevent Vintage

Brand from destroying trademark licensing which was sanctioned with the passing

of the Lanham Act in 1946. Vintage Brand’s argument that Penn State’s trademarks

are merely ornamental, do not identify the source of goods and therefore, are not

protectable as trademarks is built on a house of cards that collapses under scrutiny.

In reality, Vintage Brand’s has advanced the “merely ornamental” and “lack of

identifying source” arguments relative to Penn State’s trademarks to back door its

way into a multibillion dollar industry and hitch a free ride on the good will,

reputation and financial investment of Penn State.



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      The fact is that Vintage Brand could use the Penn State trademarks at issue,

without contest by Penn State, as do countless of other third-party manufacturers, if

they negotiated and paid for the right to do so via bona fide trademark license

agreement. Penn State’s trademarks are extremely valuable. In the article “Why

Penn State’s Brand is One of the most valuable in college football” Why Penn State's

brand is one of the most valuable in college football | Local News |

lancasteronline.com it was estimated that Penn State’s brand is worth millions.

Instead of entering into an arm’s length agreement for right to legitimately use Penn

State’s highly coveted and valuable trademarks, Vintage Brand is nefariously

attempting to steal said trademarks under the cover the “merely ornamental” and

“non-source identifying” exceptions to trademark infringement.

      If the Court rejects the well-established case law which holds that trademarks

on merchandise are presumptively source identifying and subject to protection from

infringement under the Lanham Act, see Boston Pro. Hockey Ass’n v. Dallas Cap &

Emblem Mfg., 510 F.2d 1004 (5th Cir. 1975), and finds that trademarks used in

merchandising are not “source identifying” and therefore free for use by unlicensed

third parties, not only will such a ruling have an immediate and devastating impact

on Penn State, said ruling will profoundly and catastrophically harm the licensing

industry. Significantly, the potential damage of such an errant ruling will not only

impact trademark owners in the collegiate and sports licensing industry, it will



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undoubtedly impact trademark licensors across all industries.

      This case is on the precipice of a very slippery slope. While this case involves

university merchandising, the potential impact of the court's decision extends far

beyond academic institutions and sports organizations. This issue could be

applicable to any company or organization whose brand fosters a high degree of

consumer loyalty. Apple, Inc., Peloton Interactive, Inc., Starbucks Corp. and Tesla,

Inc. are just a few examples of well-known brands that have created a strong culture

and community within their large and extremely loyal customer bases. Should their

trademarks be free for exploitation by any third-party manufacturer as “merely

ornamental” and non-source identifying simply because they end up on a T-shirt or

some other merchandising item outside of their core product? Further, would

someone wishing to purchase a T-shirt bearing the infamous Apple logo expect a

certain level of quality merely because of the reputation inherent in the brand? And

if so, and if trademarks on merchandise become “merely ornamental” and thus not

protectable, as per Vintage Brand’s argument, where does this leave Apple and other

similarly situated brand owners? Where does this leave the licensing industry? How

will quality be regulated and who will be held accountable for the lack thereof?

These are critical real life implications of the Court’s decision in this case and they

cannot and should not be ignored.




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               SUMMARY OF FACTS AND PROCEEDINGS

      SPLiCE adopts the Summary of Facts and Proceedings set forth in Penn

State’s Opposition Brief.

                                  ARGUMENT

I.          Licensing Programs Generate Significant Global Revenue and
            Protect Brand Integrity

      In order to ascertain the impact that a ruling in favor of Vintage Brand could

potentially have on the licensing industry, it is imperative to understand the scope

and breadth of product licensing and how it directly impacts the public.

      As reported in Spotify, brand owners license their patents, software or

trademarks to other companies. Licensees can re-sell the intellectual property at a

higher price or manufacture merchandise with the IP on it. Under either scenario,

the licensor is compensated by the brand owner, either by a percentage commission

or a one-time fee, as consideration for permission to use the IP. In simple terms,

brand licensing is partnership building. One of the main benefits of these

partnerships is the ability reach more consumers.

      When licensors work together, they exponentially expand the reach of their

brand. It doesn’t matter if the brand owner is the licensor or licensee in a

collaboration scenario, both parties lend each other their consumer bases and are

able to grow and expand in new demographic arenas and geographic locations. It

goes without saying that market penetration is much easier when working with an


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established licensee.

      Licensing in the field of sport merchandising is huge. It reached a value of

$30 billion in 2020 according to the Global Licensing Group. This figure is estimated

to grow at a compounding annual growth rate of 5% through 2026.

      Sports teams in the NBA and NFL, as well as the European soccer league,

participate in licensing deals. The licensing arrangements authorize third-party

manufacturers to produce merchandise with the team’s logo and/or player name. By

way of example, the soccer team Manchester United earns more than $115 million

annually from licensing arrangements. https://www.shipify.com/retail/brand-

licensing.

      Global sales revenue of licensed products and services are unparalleled. The

sale of licensed merchandise grew to $292.8 billion in 2019, a 4.5% increase from

$280.3 billion in sales made in 2018. https://www.licenseglobal.com/industry-

news/sales-licensed-goods-and-services-45-percent. Additionally, according to the

International Licensing Industry Merchandisers Association, global trademark

licensing reached $315.5 billion in 2021, with $17.4 billion in royalty revenue. “2022

Global       Licensing   Industry   Study,"    LICENSING        INTERNATIONAL,

https://licensinginternational.org/get-survey/ [https://perma.cc/QM2N-PU94].

      Further details of the size of the licensing industry can be found in The

Licensing Letter (“TLL”) (www.thelicensingletter.com) published by Plain



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Language Media. TLL publishes newsletters, industry guides, annual reports, and

research studies, which focus on management, marketing, consumer, and retail

trends. TLL found that licensed retail sales in the U.S. and Canada alone rose 3.2%

from        the      prior    year    to    reach     $114     billion   in    2019.

https://sss.thelicensingletter.com/licensed-retail-sales-in-u-s-canada-jump-3-2-to-

reach-114-billion-in-2019/.

       Finally, the global licensed sports merchandise market size reached US$ 31.3

Billion in 2022. Looking forward, IMARC Group expects the market to reach US$

39.9 Billion by 2028, exhibiting a growth rate (CAGR) of 3.5% during 2023-2028.

https://www.marketresearch.com/IMARC-v3797/Licensed-Sports-Merchandise-

Global-Trends-33784850/. Clearly, the licensing industry is big business.

       A.         Trademark Licensing Benefits the Consuming Public by Providing
                  Consistent Quality Relative to all Aspects of the Licensed Products

       Significantly, while it is axiomatic that trademark licensing is advantageous

to both the licensor and licensee, it is also invaluable to consumers and the public.

Many corporate licensing programs utilize revenue generated from licensing to

support non-profit and philanthropic causes. Apart from allowing brand owners to

expand their distribution and product categories, licensing also allows those brand

owners to build bridges towards social justice (e.g., Black Lives Matter movement)

and therefore has a broader societal impact beyond merely economic benefits.

Moreover, licensing helps preserve the goodwill, reputation, uniformity, and


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expectation of the public as to the nature and quality of goods or services associated

with a trademark (Sec. 5A of the Lanham Act) and therefore serves a powerful public

policy purpose.

      The Lanham Act defines “trademark” as “any word, name, symbol, or device,

or any combination thereof (1) used by a person, or (2) which a person has a bona

fide intention to use in commerce and applies to register on the principal register

established by this chapter, to identify and distinguish his or her goods, including a

unique product, from those manufactured or sold by others and to indicate the source

of goods, even if that source is unknown.” (emphasis supplied). 15 U.S.C. § 1127.

      A critical component of trademark, as defined by the Lanham Act, is the

source of goods, even if that source, albeit a proprietary ingredient, technology, or

system, is unknown. A key element of the “source of goods” requirement is

consistent quality. The “quality” does not necessarily mean “high quality” but rather,

a consistent level of quality commensurate with the brand.

      In Kraft Foods Group Brands LLC v. Cracker Barrel Old Country Store, Inc.

735 F.3d 735 (7th Cir. 2013), the Seventh Circuit explained this aspect of trademark

licensing as follows:

             A trademark's value is the saving in search costs made
             possible by the information that the trademark conveys
             about the quality of the trademark owner's brand. The
             brand's reputation for quality depends on the owner's
             expenditures on product quality and quality control,
             service, advertising, and so on. Once the reputation is

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             created, the firm will obtain greater profits because repeat
             purchases and word-of-mouth endorsements will add to
             sales and because consumers will be willing to pay a
             higher price in exchange for a savings in search costs and
             an assurance of consistent quality. These benefits depend
             on the firm's ability to maintain that consistent quality.

Id. at 739

      When managed with dependable quality, trademarks produce consistency

which protects consumers from being misled as to the quality of the goods. The

investment by the Brand Licensors to maintain that quality comes with great

responsibility to ensure care is taken with all forms of trademark brand management

including both core and licensed or merchandised products.

      As such, licensing acts as a protection for consumers. It provides oversight by

the licensor of good business practices to be engaged in by the licensee or

manufacturer. Without licensing, the consuming public is at risk for marketing

practices which may mislead and or harm the public, particularly as to the quality

of goods being manufactured and sold. The quality component transcends simply

the end product, but rather, is interwoven with the entire manufacturing process. For

example, quality is critical to the labor used to manufacture the goods. Quality is

also important as it pertains to compliance with governmental regulations.

Consistent quality equates with consistent compliance with regulations.

      Quality is also integral to the nature and types of composite materials used for

manufacturing. Consistent quality is critical to ethical business management

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practices and social accountability.

      Vintage Brand’s seeks to eviscerate the need for trademark licenses for

trademarked merchandise deemed “merely ornamental” and “non-source”

identifying. If the Court adopts that argument, Brand Licensors’ will lose control

over the quality and integrity of products containing their mark, posing a serious

threat to all components of quality that goes into product manufacturing.

      Ultimately, such an erroneous ruling will endanger the consuming public.

      B.     Brand Licensor’s Diligence and Oversight of Trademark Licensing
             Ensures Marketing Practices that Safeguard the Public

      Without trademark licensing arrangements, the public is at risk for marketing

practices which may be misleading or harmful, particularly for vulnerable

populations, including children. This will undoubtedly occur if Vintage Brand

prevails on its motion for summary judgment.

      In a licensing relationship, a Brand Licensor exercises significant oversight

and control of the licensee’s marketing activities. This is an extremely important

component of the licensing relationship as this oversight ensures that the

communications and the promises made by licensees are factually accurate and

comply legal requirements. Further, since the Brand Licensor monitors its licensee’s

marketing programs, it ensures compliance with the contractual guidelines so that

the Licensor’s marketing intentions, approved delivery methods, and marketing

messaging are appropriately addressed by licensees. In sum, a licensor’s oversight


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of its licensees’ product marketing campaigns safeguards potential misinformation

to the consuming public. Without a licensing relationship (which would occur if

Vintage Brand’s position is adopted), there would be no such protection to the

consuming public.

      Under a trademark license, Brand Licensors’ critically assess their licensees’

marketing campaigns to guarantee that there is alignment across all product lines

and for all licensees and that consistent quality and appearance is maintained.

Therefore, a Brand Licensor’s oversight over their licensees’ marketing campaigns

is critical because how a licensee’s products leverage the Brand Licensor’s

messaging ensures that there will be clear and consistent communication in all of the

licensee’s marketing campaigns. This strategic alignment of brand messaging

safeguards against false and misleading marketing materials from being

disseminated to the g public and prevents vulnerable populations from being

exploited by untrue and unsafe advertising campaigns.

      This is especially important for digital marketing arenas. In trademark

licensing agreements, a Licensor undertakes a thorough review of its licensees’

website to be sure that said website is compliant per specified guidelines established

in the license agreement. This usually necessitates that a licensee employ an

effective digital marketing strategy to maintain compliance. Some license

agreements require licensees to conduct comprehensive marketing research with



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consumers and retailers to guarantee effective product development. This oversight

by the Brand Licensor prevents licensees from including false, misleading and

untrue marketing claims on their websites. The Brand Licensor’s oversight of social

media marketing provides protection to the consumers which but for the licensing

agreement, would not be in place.

      The rigorous set of guidelines a Brand Licensor implements relative to its

marketing and advertising programs not only protects the public from false claims,

it also ensures that the “good will” of a Brand Licensor’s trademarks will continue

in the future. In other words, trademark licensing is a business model where

oversight of the marketing and advertising process not only protects consumers from

misleading and untrue claims, it also creates longevity for the brand by guaranteeing

safe business practices by its licensees so that consumer expectations are not simply

met but exceeded.

      C.     Trademark License Agreements Ensure that Manufacturers
             Engage in Ethical Business Practices.

      Without trademark licensing, the consuming public is at risk of being

subjected to unethical business practices.

      Licensing arrangements protect against unscrupulous business transactions by

regulating the conduct of their licensees. One way this is accomplished is by Brand

Licensors conducting financial audits of the licensee’s license program to ensure

ethical business practices. Financial reports (including but not limited to profit and


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loss statements, income statements, statements of cash flow and balance sheets) are

filed by licensees with Brand Licensors the year following the financial reporting

year. The financial reports provide transparency in the licensing process and help to

prevent price gouging and other unsavory business practices.

      Additionally Brand Licensor’s oversee licensee marketing plans. For certain

licenses, including children’s products, food and/or wellness items, a licensee may

be required to provide its Brand Licensor with quarterly marketing plan updates. All

of above checks and balances imposed by the Brand Licensor via a licensing

program serve to regulate and maintain ethical business practices by licensees.

      An additional way that licensing programs safeguard ethical business

practices is through licensee insurance requirements. Licensees must submit timely

filing of its Certificate of Insurance with the Licensor, meeting all policy limits set

forth in the licensing agreement.

      Further, trademark licenses protect intellectual property rights. Brand

Licensor’s have strict guidelines requiring that their licensees adhere to intellectual

property laws. As such, Brand Licensors can monitor and check how licensees and

their manufacturing partners respect the intellectual property rights of others.

      A final way that licensing arrangements ensure ethical business practices

relates to the accountability that licensees must maintain with their retail and

industry partners. License agreements require that licensees establish secure and



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trusted retail distribution through business channels that are complaint with all

governmental rules in addition to supporting the image of the Licensor’s Brand. The

Licensor’s ability to oversee and monitor the licensee’s business partners (which

would not occur without the contractual obligations found in a license agreement)

allows for secure and ethical points of purchase and distribution and guarantees that

the Brand Licensor’s products will be sold in the appropriate retail channels.

      A Brand Licensor’s ability to oversee and monitor its licensees’ business

practices, from financial accountability, insurance requirements, intellectual

property safeguards and points of distribution and sale is indispensable to

safeguarding the integrity of Brand Licensor’s products and ensuring that the

consuming public purchases safe and quality products consummate with the

established goodwill of the brand owner.

      If this Court holds that licensing agreements are not required for trademarked

merchandise deemed “merely ornamental” and “non-source” identifying, Brand

Licensors will lose control over the quality and integrity of products bearing their

trademarks as there will no longer be a licensor/licensee relationship.

      D.     Licensing Agreements are a Critical to Ensure that Consumer
             Products Comply with Legal Regulations

      Without trademark licensing programs, the consuming public is at risk for

exposure to manufactured goods which may not be in compliance with governmental

regulations. Further, without the safety protocols inherent in brand licensing, there


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is a serious risk that many household goods and products manufactured and

produced with composite materials which may harm the public. Without oversight

by the Brand Licensor of manufacturing selection policies utilized by licensees,

banned substances may be substituted due to price point and ultimately compromise

consumer safety.

      In a license agreement, the Licensee is contractually obligated to comply with

all applicable laws relating to product manufacturing. A Licensor can enforce their

manufacturing standards by requiring a Licensee’s manufacturing facilities to be

audited. As such, the Licensee will be obligated to maintain best manufacturing

processes, techniques, and quality control so as to not violate the terms of their

license agreement. In the event a licensee fails an audit inspection, the licensee must

respond with swift remedial action to the outstanding issues identified during the

audit or risk having their license agreement with the Licensor terminated for breach.

A Brand Licensor’s ability to institute quality standards for its licensees and

thereafter, to conduct audits to ensure compliance is an invaluable mechanism to

ensure that manufactured products comply with governmental rules and regulations

and are safe for the public.

      Additionally, the regulatory framework codified a license agreement results

in Brand Licensors being able to institute ethical manufacturing and production

policies on their licensees. Ethical production practices are imperative to protect



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product integrity. By way of example, in a typical license agreement, a Licensor will

require its licensees to adhere to stringent ethical production policies as well as fair

employment practices in the following areas: (i) child or involuntary labor, (i)

freedom of association, (iii) working hours and conditions, (iv) coercion and

harassment avoidance, (v) anti-discrimination and equal employment opportunities,

(vi) employee health and safety, (vii) compensation (wages and benefits) and (vii)

workplace safety.

      Licensing directly promotes product stewardship. Product stewardship is the

act of minimizing the health, safety, environmental, and social impacts of a product

and its packaging throughout its lifecycle, while maximizing economic benefits. The

manufacturer of the product has the greatest ability to minimize adverse impacts, but

other stakeholders, such as suppliers, retailers, and consumers, also play a role. A

strong licensing arrangement will make product stewardship an essential part of the

licensor/licensee relationship.

      One type of product stewardship found in trademark licenses is extended

producer responsibility. Two hallmark features of extended producer responsibility

include (i) shifting financial and management responsibility (with governmental

oversight) for products upstream to the manufacturer and away from the public

sector; and (ii) providing incentives to manufacturers to incorporate “green

initiatives” into the design of their products and packaging.



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         In essence, product stewardship, as codified in a license agreement, results in

the engagement between a brand owner and its licensee (manufacturer) resulting in

the licensee implementing sound business practices so that the quality and integrity

of the end product is consistent with the historical reputation and integrity of the

brand.

         If this Court holds that licensing agreements are not required for trademarked

merchandise deemed “merely ornamental” and “non-source” identifying, Brand

Licensors will lose control over the quality and integrity of licensed products as they

will no longer have oversight over the licensee’s manufacturing policies, procedures

and processes. This will directly impact the integrity of products and their

compliance with manufacturing requirements. The end result is that the consuming

public will be at risk for unsafe products.

         E.    Licensing Programs Enforce Social Accountability of Product
               Manufacturers

         If Vintage Brand’s argument prevails thereby nullifying the requirement for

licensor/licensee arrangement for the sale of merchandise bearing a Brand

Licensor’s registered trademark, there will be no oversight of social accountability

concerning the labor employed to produce trademarked product. This could have

disastrous consequences.

         License Agreements contain licensee “Codes of Conduct” which dictate

compliance with ethical and humane labor practices relative to the manufacture and


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distribution of licensed products. Typically, licensee “Codes of Conduct” include

requirements for hiring, employment standards, the health and safety of the

workplace so that local laws are followed and company standards are upheld.

      Social accountability, as found in licensee Codes of Conduct, provides a

mechanism for Licensors to investigate where products are manufactured, but also

if the factories are following local laws and also whether humane labor practices are

being implemented. Without licensing agreements, tracking and monitoring the

conduct of manufacturers relative to legal compliance and ethical workforce

initiatives would be nearly impossible. Consumers will suffer if there is no

accountability in manufacturing.

      A decision Vintage Brand’s favor will have the practical effect of legitimizing

trademark infringement through merchandising. The ripple effect of such a decision

will have significant and unintended consequences because the safety and

accountability programs currently in place through legal license agreement will be

gutted, effectively destroying social accountability in product manufacturing.

      F.     Trademark Licenses Prevent Counterfeit Goods Which Can Harm
             the Public.

      Without a formal regulated process to vet authorized licensees and

manufacturers, as contained in license agreements, the counterfeit market will surge.

With counterfeiting growing over $1 trillion globally, a region, state or territory

without legitimate licensing distribution processes will inevitably result in


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substandard products being manufactured which are plagued by unsavory methods

of    production     including    terroristic   influences     and    child     labor.

https://www.globenewswire.com/news-release/2019/09/05/1911804/0/en/Anti-

Counterfeit-Packaging-Market-To-Reach-USD-248-90-Billion-By-2026-Reports-

And-Data.html

      Counterfeit products harm consumers. They subject the public to dangerous

merchandise that is untested and unregulated. Further, the merchandise is likely

manufactured under inhumane conditions, including utilizing indentured or child

labor thereby resulting in products manufactured in conditions lacking basic human

rights protections. Further, counterfeit products often contain substandard materials,

which can be harmful and/or lethal to the consumer.

      On August 11, 2022, the U.S. Chamber of Commerce (“Chamber of

Commerce”) published a report on the danger of counterfeit goods (“2022 Report”).

Kassie Brill, Vice President for Brand Protection at the Chamber of Commerce

Global Innovation Policy Center advised: “Fake goods are a danger to American

families, particularly children who are about to start another school year.”

https://www.uschamber.com/intellectual-property/back-to-school-business-and-

law-enforcement-team-up-to-protect-students-parents-and-teachers-from-

counterfeit-goods.




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      The Report went on to state:

             Buying a substandard, fake good may save money in the
             short term, but when it breaks down quickly or causes a
             safety issue for your child, your costs will double to
             replace the product. Counterfeiters lure customers with
             convincing advertisements and low prices, but shoddy, or
             potentially harmful products and materials are not worth
             the risk.

      As reported by the International Chamber of Commerce Business Action to

Stop Counterfeiting and Piracy, the estimated value in 2022 for counterfeit and

pirated goods is between $1.9 and $2.8 trillion. Moreover, according to the

Economic Impacts of Counterfeiting and Piracy (published in 2017 by INTA and the

International Chamber of Commerce Business Action to Stop Counterfeiting and

Piracy), the estimated value of international and domestic trade in counterfeit and

pirated goods is expected to reach between $1.9 trillion and $2.8 trillion in 2022, an

increase of between $710 billion and $917 billion since 2013. This does not include

the wider economic and social costs, estimated to reach approximately $1.5 trillion

to $1.9 trillion (which includes fiscal losses, costs of crime and the displacement of

legitimate economic activity). As reported by Global News Wire, the current

estimate of the cost of global counterfeiting accounts for $1.7 trillion in yearly lost

revenues.    This     equates     to   almost     7%      of    all   global     trade.

https://www.globenewswire.com/en/news-release/2022/06/09/2459633/0/en/Cost-

Reduction-With-REV3AL-s-Digital-Anti-Counterfeiting.html



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      Counterfeit products are a huge concern. SPLiCE Member companies expend

substantial resources to combat counterfeit goods including:

         • conducting global investigations and taking legal action against

              those that are engaged in selling, distributing, or manufacturing

              counterfeit goods;

         • contracting with outside service providers to monitor online

              marketplaces, such as eBay and Amazon, and to detect and remove

              counterfeit product listings;

         • creating robust anti-counterfeit customs system including recording

              their brands with customs organizations, building a manual for

              customs officials to identify counterfeit goods, and assisting with

              the seizure process when counterfeit goods are found.

      The U.S. government has recognized the threat posed by counterfeit goods. In

a December 2021 publication on the U.S. Customs and Border Protection website,

the danger of counterfeit products was explained. “Bad actors exploit e-commerce

by selling counterfeit and unsafe goods through online platforms, particularly during

holiday season when shoppers are looking for deals… Trade in counterfeit and

pirated goods threatens American’s innovation economy, the competitiveness of

businesses, and, in some cases, national security and the health and safety of

consumers.”           https://www.cbp.gov/newsroom/local-media-release/attention-


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holiday-shoppers-cbp-just-seized-over-30-million-worth-fake

      Each time a counterfeit product is sold, a legitimate company loses revenue.

This translates to lost profits and the loss of jobs over time. Without the protection

of trademark brand licensing, the consumer is at grave risk. Counterfeit and

unregulated products in the marketplace of have significant economic impacts,

health and safety concerns and legal implications.

      For all of the above reasons, it is imperative that this Court weigh the

significant and far-reaching industry implications of a ruling in favor of Vintage

Brand. Failure to do so will have disastrous consequences for significant aspects of

the global economy as there will be no way to police legitimate licensing

arrangements. This will ultimately jeopardize the consumer as counterfeit and

unregulated products will be the norm. Product integrity, responsible manufacturing

and sourcing will all but disappear and the ability to buy safe, good quality products

no longer be guaranteed.

                                    Conclusion

      If this Court rules in favor of Vintage Brand, it will create havoc in the

licensing industry. One of the immediate and largest threats will be the unrestricted

influx of counterfeit products. If license agreement are marginalized, there will be

no check on the nature and quality of products using a brand owner’s mark. Virtually

anyone will be able to manufacture anything and put a brand owner’s label on it.



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This immediately puts the public at risk for harm by being exposed to untested,

unsafe and unpredictable consumer products. There will be no consistency,

reliability and accountability.

      The consequences for both the United States, and the global community

cannot be understated. If retailers feel they can legally create and produce university-

themed merchandise or by extrapolation, any merchandise outside a brand owner’s

core products, without a license or approval from the brand owner, with legal

impunity, this will inevitably up Pandora’s box to endless possibilities for

unauthorized uses, counterfeit products and the potential for wide-scale infringement

by unlicensed parties. This outcome would not only interfere with the brand owners

ability to control and police their marks in the retail marketplace, but also it would

provide less certain outcomes in trademark litigation involving merchandising rights

going forward.

      Accordingly, SPLiCE, as amicus curie, respectfully requests that this Court

rule in favor of Penn State and deny Vintage Bran’s motion for summary judgment.




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                             Respectfully submitted,

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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8(b)


      I hereby certify that the SPLiCE Amicus Curiae brief complies with the word

limit for briefs exceeding fifteen pages, set forth in Local Rule 7.8(b). This brief is

4989 words from Interest of Amicus Curiae through the Conclusion, less than the

5,000-word limit prescribed by Local Rule 7.8(b).

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